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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CV-60883-WILLIAMS/VALLE

   REINIER FUENTES,

          Plaintiff,
   vs.

   CLASSICA CRUISE OPERATOR, LTD., INC..

         Defendant.
   __________________________________/

                        PLAINTIFF’S NOTICE OF VESSEL INSPECTION

          Plaintiff, REINIER FUENTES, by and through undersigned counsel, hereby gives all

    parties of record notice of his intent to inspect the vessel Grand Classica, which is the subject of

    this lawsuit on Wednesday, June 5, 2019 at 7:30 a.m. Said date and time has been previously

    coordinated and agreed to by the Defendant.

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 31, 2020, the foregoing document was served via

   electronic mail to the parties on the attached Service List.


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                                                     By:     /s/ John P. Fischer
                                                           JOHN P. FISCHER, ESQ.
                                                           Florida Bar No: 99751
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                                        SERVICE LIST

                        CASE NO. 19-CV-60883-WILLIAMS/VALLE

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